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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   GEORGE GOODRITZ                   : No.
                                     :
                      Plaintiff,     :
          v.                         :
                                     :
   618 MARKET L.P.                   :
                                     :
                                 and :
   LAZ PARKING MID-ATLANTIC,
   LLC                               : COMPLAINT
                                     :
                       Defendants :

                              PRELIMINARY STATEMENT

George Goodritz (the “Plaintiff”), by and through his counsel, brings this lawsuit against

618 Market L.P., and LAZ Parking Mid-Atlantic, LLC seeking all available relief under

the Americans with Disabilities Act for the failure to comply with the Act’s accessibility

requirements. Plaintiff is seeking injunctive relief requiring the Defendants to remove

the accessibility barriers which exist at their parking facility. The allegations contained

herein are based on personal experience of the Plaintiff.
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                                   I. JURISDICTION

1. This action is brought pursuant to the Americans with Disabilities Act of 1990

   (“ADA”), 42 U.S.C. § 12101 et seq.

2. This civil controversy arises under the laws of the United States, and jurisdiction in

   conferred upon this District Court, pursuant to 28 U.S.C. §1331.


                                  II. VENUE

3. All actions complained of herein took place within the jurisdiction of the United States

   District Court for the Eastern District of Pennsylvania.

4. Venue is proper in this judicial District as provided by 28 U.S.C. §1391(b).

                                III. PARTIES

5. Plaintiff is a 69 year-old adult male who currently resides in the Commonwealth of

   Pennsylvania.

6. Plaintiff is a disabled individual.

7. The Philadelphia Board of Revision of Taxes lists 618 Market, L.P. (“Defendant

   Market”) as the owner of 618 Market Street, Philadelphia, Pennsylvania 19106, having

   a tax account number of 883405500.

8. According to the Pennsylvania Department of State, Defendant Market is a foreign

   limited partnership with an entity identification number of 4344694.

9. LAZ Parking Mid-Atlantic, LLC (“Defendant LAZ”) is a foreign for-profit limited

   liability company registered with the Pennsylvania Department of State with entity

   identification number 3766497.

10. Defendant LAZ has a registered business address of 1818 Market Street, Suite 3140,

   Philadelphia, Pennsylvania 19103.
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11. Defendant Market and Defendant LAZ are collectively referred to herein as the

      “Defendants.”

                                     IV. STATEMENT OF FACTS

The Parking Facility

12. Defendant Market owns a public parking garage located at 618 Market Street,

      Philadelphia, Pennsylvania 19106 (the “Parking Facility”).

13. Upon information and belief, Defendant LAZ manages the Parking Facility for

      Defendant Market.

14. The Parking Facility offers parking to the general public.

15. The Parking Facility is a “self-park” garage, where customers enter the garage and park

      their own vehicle.

16. The Parking Facility has five (5) levels.

17. The entrance to the Parking Facility is at 11 South 7th Street.

18. The Parking Facility is open 24 hours a day.1

19. Upon information and belief, the Parking Facility has approximately 330 parking

      spaces.

20. The Parking Facility is served by an elevator and by two (2) stairwells for the various

      parking levels.

21. On levels 1 through 3, there is a van-accessible handicap parking space adjacent to each

      elevator access location.

22. One side of each van-accessible handicap parking space on levels 1 through 3 is

      partially blocked by a wall. (See Exhibit A)



1
    https://www.lazparking.com/local/philadelphia-pa/618-market-street-garage
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23. On levels 1 through 3, there is a van-accessible handicap parking space adjacent to each

   elevator access location.

24. None of the handicap accessible parking spaces on levels 1 through 3 have handicap-

   accessible signs designating the parking space as being handicap-accessible.

25. On levels 1 through 3, there is one (1) car-accessible handicap parking space adjacent

   to each elevator access location.

26. On the 4th floor, the Parking Facility has parking attendants who park vehicles.

27. There is a booth that the parking attendants utilize.

28. The parking attendants’ booth is located in the middle of a handicap-accessible access

   aisle which serves two adjacent handicap parking spaces. (See Exhibit B)

29. There are no handicap-accessible parking spaces on the top level of the Parking

   Facility.

30. When the Plaintiff patronized the Parking Facility on or about June 3, 2017, there were

   cars parked in the access aisle for the handicap parking spaces. (See Exhibit C)

31. The stairwells do not have a hand railings which extend twelve (12) inches over the

   landing. (See Exhibit D)

32. To access the elevator on each parking level, a customer must step up on a curb. (See

   Exhibit E)

33. To access the stairs from on each parking level, a customer must step up on a curb.

34. None of the curbs have cut outs or ramps.

The Plaintiff

35. The Plaintiff is a disabled individual within the meaning of the ADA.

36. The Plaintiff has difficulty walking.
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37. The Plaintiff possesses a handicap parking placard issued by the Commonwealth of

   Pennsylvania.

38. The Plaintiff’s handicap parking placard permits him to park his vehicle in spaces

   designated as being handicap-accessible.

39. The Plaintiff travels to Philadelphia frequently, and is often unable to find parking on

   the streets.

40. Plaintiff parks in a parking garage or parking lot when on-street parking is not available.

41. The Plaintiff has previously patronized the Parking Facility.



                   THE AMERICANS WITH DISABILITIES ACT

42. Congress enacted the Americans with Disabilities Act (“ADA”) in 1990 with the

   purpose of providing “[a] clear and comprehensive national mandate for the elimination

   of discrimination against individuals with disabilities” and “[c]lear, strong, consistent,

   enforceable     standards    addressing    discrimination    against    individuals    with

   disabilities.” 42 U.S.C. § 12101(b).

43. The ADA provides a private right of action for injunctive relief to “any person who is

   being subject to discrimination on the basis of disability.” 42 U.S.C. § 12188(a)(1).

44. Under the ADA, a disability is defined as “(A) a physical or mental impairment that

   substantially limits one or more major life activities of such individual; (B) a record of

   such an impairment; or (C) being regarded as having such an impairment.” 42 U.S.C.

   § 12102(1).

45. Title III of the ADA provides that “[n]o individual shall be discriminated against on

   the basis of disability in the full and equal enjoyment of the goods, services, facilities,
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   privileges, advantages, or accommodations of any place of public accommodation by

   any person who owns, leases (or leases to), or operates a place of public

   accommodation.” 42 U.S.C. § 12182.

46. “It shall be discriminatory to afford an individual or class of individuals, on the basis

   of a disability or disabilities of such individual or class, directly, or through contractual,

   licensing, or other arrangements with the opportunity to participate in or benefit from

   a good, service, facility, privilege, advantage, or accommodation that is not equal to

   that afforded to other individuals.” 42 U.S.C. § 12182(b)(1)(A)(ii).

47. A “public accommodation” are private entities whose operations affect commerce. See

   42 U.S.C. § 12181(7).

48. In relevant part, Title III requires that the facilities of a public accommodation be

   “readily accessible to and usable by individuals with disabilities, except where an entity

   can demonstrate that it is structurally impracticable.” 42 U.S.C. § 12183(a)(1).

49. “Readily achievable” means easily accomplishable and able to be carried out without

   much difficulty or expense. 28 C.F.R. § 36.104.

50. Under Title III, places of public accommodation and commercial facilities that are

   newly constructed for occupancy beginning after January 26, 1992, must be “readily

   accessible to and usable by” individuals with disabilities. 28 C.F.R. § 36.401(a) (1).

51. Existing facilities whose construction predates January 26, 1992, must meet the lesser

   “barrier removal standard,” which requires the removal of barriers wherever it is

   “easily accomplishable and able to be done without undue burden or expense.” 28

   C.F.R. § 36.304(a).
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52. “Facility” means all or any portion of buildings, structures, sites, complexes,

      equipment, rolling stock or other conveyances, roads, walks, passageways, parking

      lots, or other real or personal property, including the site where the building, property,

      structure, or equipment is located. 28 C.F.R. § 35.104.

53. Discrimination, for purposes of a public accommodation, includes “[a] failure to design

      and construct facilities for first occupancy later than 30 months after July 26, 1990, that

      are readily accessible to and usable by individuals with disabilities” except where an

      entity can demonstrate that it is structurally impracticable to meet the requirements set

      forth by the ADA. 42 U.S.C. § 12183.

54. Under the ADA, businesses or privately owned facilities that provide goods or services

      to the public have a continuing obligation to remove accessibility barriers in existing

      parking lots when it is readily achievable to do so.

55. The restriping/repainting of the parking space borders in relatively inexpensive, and

      should be readily achievable and easily accomplishable.

Accessible Parking under the ADA

56. The 1991 implementing rules and the 2010 revisions to the ADA set forth the following

      requirements for handicap-accessible parking spaces:2


      Total Number of Parking Spaces Provided             Minimum Number of Required
                in Parking Facility                        Accessible Parking Spaces

                          1 to 25                                         1
                         26 to 50                                         2
                         51 to 75                                         3
                        76 to 100                                         4
                       101 to 150                                         5
                       151 to 200                                         6

2
    https://www.ada.gov/regs2010/2010ADAStandards/2010ADAstandards.htm#pgfId-1010282
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                       201 to 300                                            7
                       301 to 400                                            8
                       401 to 500                                            9
                                                            2% of the total number of parking
                      501 to 1000
                                                                           spaces
                                                          20, plus 1 for each 100 parking spaces
                    More than 1001
                                                                         over 1000

57. The ADA requires that handicap-accessible parking spaces be at least 96 (ninety-six)

    inches wide. See Appendix A to Part 36- Standards for Accessible Design, 28 C.F.R.

    Part 36.3

58. The width of a parking space is measured from the center of each parking line bordering

    the parking space.4 (See Exhibit F)

59. For cars, the ADA requires that there be an access isle for the handicap-accessible

    parking space that is at least 60 (sixty) inches wide. (See Exhibit F)

60. For vans, the ADA requires that there be an access aisle for the handicap-accessible

    parking space that is at least 96 (ninety-six) inches wide.5

61. The 1991 ADA regulations require that one in every eight accessible spaces must be

    van accessible.6

62. The 2010 ADA regulations state that one in every six accessible spaces must be van

    accessible.7

63. The path a person with a disability takes to enter and move through a facility is called

    an "accessible route."8


3
  https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
4
  Id.
5
  https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/guide-to-the-ada-standards/chapter-5-parking#van
6
  https://www.ada.gov/regs2010/titleIII_2010/reg3_2010_appendix_b.htm
7
  Id.
8
  http://www.ada.gov/regs2010/titleII_2010/title_ii_primer.html
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64. This route, which must be at least three feet wide, must remain accessible and not be

     blocked.9

65. Accessible routes must connect parking spaces to accessible entrances.10

66. ADA accessibility standards require that accessible parking spaces in parking garages

     be located on the shortest accessible route from adjacent parking to the accessible

     entrance of the building.11

67. ADA Guidance Standards provide that “[a] "path of travel" includes a continuous,

     unobstructed way of pedestrian passage by means of which the altered area may be

     approached, entered, and exited, and which connects the altered area with an exterior

     approach (including sidewalks, streets, and parking areas), an entrance to the facility,

     and other parts of the facility.”12

68. “An accessible path of travel may consist of walks and sidewalks, curb ramps and other

     interior or exterior pedestrian ramps; clear floor paths through lobbies, corridors,

     rooms, and other improved areas; parking access aisles; elevators and lifts; or a

     combination of these elements.”13

Signage and the ADA

69. The ADA standards require the use of the International Symbol of Accessibility (ISA)

     to identify parking spaces which are reserved for use by individuals with disabilities.14

     (See Exhibit G)



9
  Id.
10
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
11
   http://www.ada.gov/adata1.pdf
12
   https://www.ada.gov/regs2010/2010ADAStandards/2010ADAstandards.htm#curbramps
13
   See Id.
14
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/background/adaag#4.1
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70. Handicap-accessible parking spaces must be designed as “reserved” by a showing the

     ISA.

71. The ISA must be used to identify accessible passenger loading zones.

72. Directional signage must be used at inaccessible entrances to provide directions to the

     nearest accessible route.

73. Parking space identification signs shall be 60 (sixty) inches minimum above the finish

     floor or ground surface measured to the bottom of the sign.15

Stairs and Handrails

74. At the top of a stair flight, handrails shall extend horizontally above the landing for 12

     (twelve) inches minimum beginning directly above the first riser nosing.16 (See Exhibit

     F)

75. At the bottom of a stair flight, handrails shall extend at the slope of the stair flight for

     a horizontal distance at least equal to one tread depth beyond the last riser nosing.17


                                             COUNT I –

     FAILURE TO PROVIDE ADA COMPLIANT HANDICAP-ACCESSIBLE
                         ACCESS LANES

76. All preceding paragraphs are hereby incorporated by reference as if fully set forth

     herein.

77. The Parking Facility is a public accommodation as defined by ADA.

78. The Parking Facility is subject to Title III of the ADA.




15
   https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-standards/ada-
standards/chapter-5-general-site-and-building-elements
16
   See https://www.access-board.gov/guidelines-and-standards/buildings-and-sites/about-the-ada-
standards/ada-standards/chapter-5-general-site-and-building-elements
17
   See Id.
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79. The Plaintiff is a disabled individual within the meaning of the ADA.

80. The United States Supreme Court recognized the term “major life activities” includes

   walking. Bragdon v. Abbott, 524 U.S. 624, 638–39 (1998).

81. The major life activity that the constitutes the Plaintiff’s disability is his difficulty

   walking distances.

82. To exit his vehicle, Plaintiff must fully open his car door.

83. On level 4, the Parking Facility has a parking attendant booth located in the middle of

   an access aisle which serves two handicap accessible parking spaces.

84. The access aisle on level 4 of the Parking Facility is not accessible because of the

   parking attendant booth which sits in the middle of the access aisle.

85. The Parking Facility’s failure to provide an unencumbered access aisle has created an

   accessibility barrier for the Plaintiff, and other similarly situated disabled individuals.

86. Because the access aisle on level 4 is blocked, Plaintiff is unable to fully open his car

   door if he were to park in one of the spaces served by that access aisle.

87. Defendant Market is responsible for ensuring the Parking Facility’s compliance with

   the ADA.

88. Defendant LAZ is responsible for ensuring the Parking Facility’s compliance with the

   ADA.

89. The Defendants can remedy their non-compliance with the ADA’s parking

   requirements removing the parking attendant booth from the access aisle on level 4 of

   the Parking Facility.

90. Compliance with the ADA’s parking requirements at the Parking Facility is readily

   achievable.
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91. The Defendants’ failure to comply with the ADA has denied the Plaintiff the full and

   equal enjoyment of the parking offered by the Parking Facility.

92. The Defendants have discriminated against the Plaintiff by their failure to comply with

   the ADA.

WHEREFORE, Plaintiff seeks to injunctive relief to require the Defendants to comply with

the Americans with Disabilities Act, together with costs and mandatory attorneys’ fees

under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendants as the Court deems just and proper.

                                        COUNT II-

    FAILURE TO COMPLY WITH THE SIGNAGE REQUIRMENTS UNDER
                         THE ADA


93. All of the preceding paragraphs are hereby incorporated by reference as if fully set forth

   herein.

94. The Parking Facility does not have any pole-mounted or wall-mounted handicap-

   accessible parking signs at each handicap-accessible parking space which are 60 (sixty)

   inches above the ground.

95. The Parking Facility does not have any pole-mounted or wall-mounted van-accessible

   handicap-accessible parking signs which are 60 (sixty) inches above the ground.

96. The Defendants can remedy their non-compliance by providing the proper signage for

   handicap-accessible parking spaces.

97. The Defendants’ failure to comply with the ADA handicap-accessible parking

   requirements has denied the Plaintiff the full and equal enjoyment of parking offered

   by the Parking Facility.
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98. The Defendants have discriminated against the Plaintiff by its failure to comply with

   the ADA Standards.



WHEREFORE, Plaintiff seeks to injunctive relief to require the Defendants to comply with

the Americans with Disabilities Act, together with costs and mandatory attorneys’ fees

under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendant as the Court deems just and proper.

                                        COUNT III-

      FAILURE TO MAINTAIN PROPER STAIR RAILS UNDER THE ADA

99. All of the preceding paragraphs are hereby incorporated by reference as if fully set forth

   herein.

100. In the Parking Facility’s stairwells, the stairs leading to the next higher level do not

   have a hand rail which extends twelve (12) inches over the landing.

101. The Defendants’ failure to install the proper handrail lengths at the top of the flight of

   stairs has created a safety issue and an accessibility issue.

102. The Defendants can remedy this non-compliance by installing hand rails of the proper

   length in the Parking Facility’s stairwells

103. The Defendants have discriminated against the Plaintiff by their failure to comply with

   the ADA.

WHEREFORE, Plaintiff seeks to injunctive relief to require the Defendants to comply with

the Americans with Disabilities Act, together with costs and mandatory attorneys’ fees

under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendants as the Court deems just and proper.
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                                        COUNT IV-

                       FAILURE TO PROVIDE CURB CUTS ADA

104. All of the preceding paragraphs are hereby incorporated by reference as if fully set

   forth herein.

105. There is a six (6) inch curb which must be cleared in order to access the elevator in the

   Parking Facility.

106. There is a six (6) inch curb which must be cleared in order to access the stairwells in

   the Parking Facility.

107. The Parking Facility’s elevators are inaccessible by wheelchairs.

108. The Defendants can remedy this non-compliance by installing curb cut outs for each

   of the elevated platforms in from of the Parking Facility’s elevator.

109. The Defendants can remedy this non-compliance by installing curb cut outs for each

   of the elevated platforms in from of the Parking Facility’s stairwells.


WHEREFORE, Plaintiff seeks to injunctive relief to require the Defendants to comply with

the Americans with Disabilities Act, together with costs and mandatory attorneys’ fees

under as provided by 42 U.S.C. § 12005, and such other legal and equitable relief from

Defendants as the Court deems just and proper.
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Respectfully submitted,

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Dated: June 13, 2017
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                             CERTIFICATE OF SERVICE

I, Franklin J. Rooks Jr., certify that I served Plaintiff’s Complaint via the Court’s ECF

system.



By: FJR5566

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Dated: June 13, 2017
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                           EXHIBIT A
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                         EXHIBIT B
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                         EXHIBIT C
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                         EXHIBIT D
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                                     EXHIBIT E




(Source:https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/guide-to-the-ada-standards/chapter-5-parking#spaces)
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                         EXHIBIT F
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                           EXHIBIT G
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                                    EXHIBIT F

Source: https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/guide-to-the-ada-standards/chapter-5-stairways
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                                  EXHIBIT F (continued)



Source:https://www.access-board.gov/guidelines-and-standards/buildings-and-
sites/about-the-ada-standards/ada-standards/chapter-5-general-site-and-building-
elements#505 Handrails
505.10.2 Top Extension at Stairs. At the top of a stair flight, handrails shall extend
horizontally above the landing for 12 inches (305 mm) minimum beginning directly
above the first riser nosing. Extensions shall return to a wall, guard, or the landing
surface, or shall be continuous to the handrail of an adjacent stair flight.




Figure 505.10.2 Top Handrail Extension at Stairs
